ġ                     ġŖŏŊŕņŅġŔŕłŕņŔġŅŊŔŕœŊńŕġńŐŖœŕġ     Motion GRANTED
ġ                  ŇŐœġŕŉņġŎŊŅŅōņġŅŊŔŕœŊńŕġŐŇġŕņŏŏņŔŔņņġ conditioned upon the timely
ġ                           ŏłŔŉŗŊōōņġŅŊŗŊŔŊŐŏġ          filing of a waiver of speedy
                                                         trial by co-defendant.
ġ
ŖŏŊŕņŅġŔŕłŕņŔġŐŇġłŎņœŊńłġ ġġ      Īġ
                                  Īġ
                                  Īġ
     ŷįġ   ġ     ġ     ġ     ġ    Īġ    ŏŰįġĴĻĲĴĮııĲĴĺġ
                                  Īġ    ŋŖŅňņġŕœłŖňņœġ
                                  Īġ
ŇłōōŐŏġŔłŃōłŏġ ġ       ġ     ġ    Īġġ
ġ                                     ġ
                ŎŐŕŊŐŏġłŏŅġŊŏńŐœőŐœłŕņŅġŎņŎŐœłŏŅŖŎġ
                            ŕŐġńŐŏŕŊŏŖņġŕœŊłōġġ
ġ

        ŏŐŘġŤŰŮŦŴġŵũŦġťŦŧŦůťŢůŵĭġŇłōōŐŏġŔłŃōłŏĭġŵũųŰŶŨũġŤŰŶůŴŦŭĭġŢůťġųŦŴűŦŤŵŧŶŭŭźġųŦŲŶŦŴŵŴġŵũŢŵġ

ŵũŪŴġŉŰůŰųŢţŭŦġńŰŶųŵġŦůŵŦųġŢůġŰųťŦųġŨųŢůŵŪůŨġŢġŤŰůŵŪůŶŢůŤŦġŰŧġũŦųġŵųŪŢŭġťŢŵŦĭġűųŦŴŦůŵŭźġŴŦŵġŧŰųġŔŦűŵŦŮţŦųġ

ĴıĭġĳıĲĵįġŇŶųŵũŦųŮŰųŦĭġŤŰŶůŴŦŭġŮŰŷŦŴĭġűŶųŴŶŢůŵġŵŰġŵũŦġŇŦťŦųŢŭġœŶŭŦŴġŰŧġńųŪŮŪůŢŭġőųŰŤŦťŶųŦġœŶŭŦġĲĳĩŤĪĭġ

ŵũŢŵġŵũŪŴġŉŰůŰųŢţŭŦġńŰŶųŵġŨųŢůŵġŢůġŦŹŵŦůŴŪŰůġŰŧġŵũŦġűųŦĮŵųŪŢŭġŮŰŵŪŰůŴġŧŪŭŪůŨġťŦŢťŭŪůŦįġŊůġŴŶűűŰųŵġŰŧġŴŢŪťġ

ųŦŲŶŦŴŵĭġŤŰŶůŴŦŭġŴŶţŮŪŵŴġŵũŦġŧŰŭŭŰŸŪůŨĻ

        ŎŴįġŔŢţŭŢůġũŢŴġţŦŦůġŤũŢųŨŦťġŸŪŵũġŴŦűŢųŢŵŦġŉŰţţŴġŢŤŵġųŰţţŦųŪŦŴġŢŴġŸŦŭŭġŢŴġĺĳĵĩŤĪġŷŪŰŭŢŵŪŰůŴįġġ

ńŰŶůŴŦŭġũŢŴġųŦŤŦůŵŭźġŢŤŲŶŪųŦťġŢġŷŰŭŶŮŪůŰŶŴġŢŮŰŶůŵġŰŧġŢťťŪŵŪŰůŢŭġťŪŴŤŰŷŦųźġŮŢŵŦųŪŢŭŴġŸũŪŤũġůŦŦťŴġŵŰġţŦġ

ųŦŷŪŦŸŦťįġġłŧŵŦųġŵũŪŴġŰűűŰųŵŶůŪŵźĭġńŰŶůŴŦŭġůŦŦťŴġŢťťŪŵŪŰůŢŭġŵŪŮŦġŵŰġťŪŴŤŶŴŴġŸŪŵũġŵũŦġňŰŷŦųůŮŦůŵĭġŢŴġŸŦŭŭġ

ŢŴġŸŪŵũġũŪŴġŤŭŪŦůŵĭġŢġűŰŴŴŪţŭŦġųŦŴŰŭŶŵŪŰůġŰŧġŵũŦġŤŢŴŦįġġġŕũŦġňŰŷŦųůŮŦůŵġũŢŴġůŰġŰűűŰŴŪŵŪŰůġŵŰġŵũŪŴġŮŰŵŪŰůįġ

        ĲĹġŖįŔįńįġƨġĴĲķĲĩũĪĩĹĪĩłĪġűųŰŷŪťŦŴĭġŪůġűŦųŵŪůŦůŵġűŢųŵĭġŵũŢŵġŢůźġűŦųŪŰťġŰŧġťŦŭŢźġ

ųŦŴŶŭŵŪůŨġŧųŰŮġŢġŤŰůŵŪůŶŢůŤŦġŨųŢůŵŦťġŰůġŵũŦġţŢŴŪŴġŰŧġŢġŤŰŶųŵ’ŴġŧŪůťŪůŨŴġŵũŢŵġŵũŦġŦůťŴġŰŧġūŶŴŵŪŤŦġŴŦųŷŦťġţźġ

ŨųŢůŵŪůŨġŰŧġŢġŤŰůŵŪůŶŢůŤŦġŰŶŵŸŦŪŨũġŵũŦġţŦŴŵġŪůŵŦųŦŴŵŴġŰŧġŵũŦġűŶţŭŪŤġŢůťġŵũŦġťŦŧŦůťŢůŵġŪůġŢġŴűŦŦťźġŵųŪŢŭġ

ŴũŢŭŭġţŦġŦŹŤŭŶťŦťġŪůġŤŰŮűŶŵŪůŨġŵũŦġŵŪŮŦġŸŪŵũŪůġŸũŪŤũġŵũŦġŵųŪŢŭġŮŶŴŵġŤŰŮŮŦůŤŦįġ



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